Case 1:20-bk-11784-MB          Doc 54 Filed 12/10/20 Entered 12/10/20 13:26:29                  Desc
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 1   PETER C. ANDERSON
     United States Trustee
 2   KENNETH M. MISKEN                                                 FILED & ENTERED
     Assistant United States Trustee
 3   RUSSELL CLEMENTSON/SBN 143284
     Trial Attorney                                                         DEC 10 2020
 4   Department of Justice
     Office of the United States Trustee                               CLERK U.S. BANKRUPTCY COURT
 5   915 Wilshire Blvd., Suite 1850                                    Central District of California
     Los Angeles, California 90017                                     BY Bever      DEPUTY CLERK
 6   Telephone: (213) 894-4505; Facsimile: (213) 894-2603
     Email: russell.clementson@usdoj.gov
 7                                                             CHANGES MADE BY COURT
 8                                UNITED STATES BANKRUPTCY COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA

10                                 SAN FERNANDO VALLEY DIVISION

11

12   In re:                                           )   Case No.: 1:20-bk-11784-MB
                                                      )
13   VALLEY ENERPRISES T.S. INC,                      )   Chapter 11
                                                      )
14                   Debtor.                          )   ORDER GRANTING UNITED STATES
                                                      )   TRUSTEE’S MOTION TO DISMISS OR
15                                                    )   CONVERT CASE
                                                      )
16                                                    )   Date: December 10, 2020
                                                      )   Time: 11:00 a.m.
17                                                    )   Ctrm: 303 (Via Zoom)
                                                          21041 Burbank Blvd.
18                                                        Woodland Hills, CA 91367
19

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21            The United States Trustee's Motion to Convert or Dismiss this case per § 1112(b) with an
22   Order directing payment of Quarterly Fees (“Motion”) (Doc. No. 18) came on for hearing on the
23   above date and time. Appearances were made as reflected on the record. The Court having
24   considered the record herein, the arguments of counsel and interested parties, and for good cause
25   appearing,
26            IT IS HEREBY ORDERED that the Motion is granted and that this case be and hereby is

27   CONVERTED to Chapter 7.

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 1          IT IS FURTHER ORDERED that Debtor shall comply with Federal Rule of Bankruptcy

 2   Procedure 1019 within the time specified by Federal Rule of Bankruptcy Procedure 1019(5)(A)..

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23 Date: December 10, 2020

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